                         UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF WISCONSIN


UNITED STATES OF AMERICA
               Plaintiff,

       v.                                                Case No. 14-CR-29
                                                                  14-CR-213
TARQUIN C. SAUNDERS
               Defendant.


                                            ORDER

       On the government’s unopposed motion, and pursuant to Fed. R. Crim. P. 13 and

Criminal L.R. 13 (E.D. Wis.),

       IT IS ORDERED that Case No. 14-CR-29 and Case No. 14-CR-213 are hereby

consolidated before this branch of the court for all further proceedings. All dates previously set

in No. 14-CR-29 shall also apply to No. 14-CR-213.

       Dated at Milwaukee, Wisconsin, this 24th day of November, 2014.

                                           /s Lynn Adelman
                                           LYNN ADELMAN
                                           District Judge




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